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 4
     Attorney for Defendant
 5   DIANA ORANTES
 6
 7
 8                  IN THE UNITED STATES DISTRICT COURT
 9                      EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               )       CR-F-08-CR 00257 AWI
                                             )
12         Plaintiff,                        )       STIPULATION TO CONTINUE
                                             )       STATUS CONFERENCE FROM
13                                           )       JANUARY 5, 2009 to
                                             )       FEBRUARY 2, 2009
14                                           )
                                             )
15                                           )
           v.                                )
16                                           )       Proposed Date: 2/2/09
                                             )       Time: 9:00 a.m.
17                                           )       Dept: AWI
     DIANA ORANTES et al.                    )
18                                           )
           Defendant.                        )
19                                           )
20
           IT IS HEREBY STIPULATED AMONG COUNSEL AS FOLLOWS:
21
           That the status conference previously set for January 5, 2009 at 9:00 a.m. be
22
     continued to February 2, 2009 as KATHERINE HART, counsel for DIANA
23
     ORANTES is currently in trial in Fresno County Superior Court Case F
24
     089023688; also, settlement offers have recently been conveyed and counsel for
25
     CLARK and ORANTES need time to consider such offers;
26
           It is further stipulated that time will be excluded under the provisions of the
27
28                                               1
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 1   Speedy Trial Act, 18 U.S.C. § 3161 et seq. in that the ends of justice served by the
 2   continuance outweigh the best interest of the public and the defendant in a speedy
 3   trial, since the failure to grant such continuance would deny counsel for the
 4   defendant the reasonable time necessary for effective preparation, taking into
 5   account the exercise of due diligence.
 6
 7   DATED: December 30, 2008                 /s/ Katherine Hart
                                              KATHERINE HART, Attorney for
 8                                            DIANA ORANTES
 9
10   DATED: December 30, 2008                 /s/ Sebastian Rucci
                                              SEBASTIAN RUCCI, Attorney for
11                                            AARON CLARK
12
13   DATED: December 30, 2008                 /s/ Elana Landau
                                              ELANA LANDAU, Assistant United
14                                            States Attorney
15
16                                        ORDER
17
            Good cause appearing it is hereby ordered that the status conference
18
     previously set for January 5, 2009 at 9:00 a.m. be reset to February 2, 2009 at 9:00
19
     a.m.
20
21
     IT IS SO ORDERED.
22
     Dated:     January 5, 2009               /s/ Anthony W. Ishii
23   0m8i78                          CHIEF UNITED STATES DISTRICT JUDGE
24
25
26
27
28                                             2
